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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF ILLINOIS

 WENDY ZELLER,                                     )
                                                   )
        Plaintiff,                                 )
                                                   )
 v.                                                )   Case No.: 3:18-CV-1467-NJR-MAB
                                                   )
 ROBERT W. ROLAND and                              )
 SUNRISE TRANSPORT, LLC.                           )
                                                   )
        Defendants.                                )

       JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE [FRCP 41(A)]

        IT IS HEREBY STIPULATED AND AGREED, by and between the parties under Federal

 Rule of Civil Procedure 41(a)(1)(ii), that this action be dismissed with prejudice as to all claims,

 causes of action, and parties, with each party bearing that party’s own attorney’s fees and costs.



 Respectfully submitted,                               Respectfully submitted,


 LIESER LAW FIRM                                       KEEFE, KEEFE & UNSELL, P.C.
 By: /s/ Shaun M. Lieser (with consent)                By: /s/ Thomas Q. Keefe, III (with consent)
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 Attorney for Plaintiff                                Attorney for Plaintiff



 Respectfully submitted,                               Respectfully submitted,

 LEWIS BRISBOIS BISGAARD &                             SWANSON, MARTIN & BELL, LLP
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 By: _s/ John F. Cooney (with consent)                 By: s/ Gary C. Pinter
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 Attorneys for Defendant                               Attorney for Defendant, Sunrise
 Robert W. Roland                                      Transport, LLC
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                                       ORDER OF DISMISSAL

          Pursuant to the stipulation of the parties under Federal Rule of Civil Procedure 41 (a)(1)(ii),

 IT IS HEREBY ORDERED THAT THIS ACTION IS DISMISSED WITH PREJUDICE as to all

 claims, causes of action, and parties, with each party bearing that party’s own attorney’s fees and

 costs. The Clerk is directed to close the file.



 Dated:                                            _____________________________________
